810 F.2d 194
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.John Daniel FRONEBERGER, Plaintiff-Appellant,v.NORTH CAROLINA COURT OF APPEALS;  Lincoln County SuperiorCourt;  State of North Carolina;  North CarolinaDepartment of Justice, Defendants-Appellees.
    No. 86-3714.
    United States Court of Appeals, Fourth Circuit.
    Submitted Oct. 23, 1986.Decided Jan. 16, 1987.
    
      Before PHILLIPS, SPROUSE and WILKINSON, Circuit Judges.
      John Daniel Froneberger, appellant pro se.
      PER CURIAM:
    
    
      1
      A review of the record and the district court's opinion discloses that this appeal from its order denying relief under 42 U.S.C. § 1983 is without merit.   Because the dispositive issues recently have been decided authoritatively, we dispense with oral argument and affirm the judgment below on the reasoning of the district court.   Froneberger v. North Carolina Court of Appeals, C/A No. 86-112-ST (W.D.N.C., Aug. 5, 1986).
    
    
      2
      AFFIRMED.
    
    